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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION

UNITED STATES OF AMERICA                  *
                                          *
       v.                                 *      Case No. 2:18-cr-00050
                                          *
ELLIOT LOYRANZY ARMSTRONG,                *
                                          *
                            Defendant.    *

  DEFENDANT ELLIOT LOYRANZY ARMSTRONG’S MOTION FOR PRETRIAL
    HEARING TO DETERMINE THE ADMISSIBILITY OF OUT-OF-COURT
           STATEMENTS OF ALLEGED CO-CONSPIRATORS

       COMES NOW the above-referenced Defendant and moves this Court to conduct

a pretrial hearing pursuant to James v. United States, 590 F.2d 575 (5th Cir. 1979), for the

purpose of determining whether the out-of-court statements of any alleged

co-conspirator is admissible as evidence against this Defendant.

       This Defendant further moves this Court to require the Government to submit

evidence at the James hearing to establish:

       a) the existence of a conspiratorial agreement; and

       b) the sufficiency of the evidence against the Movant to establish involvement in

the alleged conspiracy.

       At the conclusion of the James hearing, if it appears that there is not sufficient

evidence of a conspiracy among the Movant and any of the other defendants or the

declarant, or the declaration at issue was not in furtherance of that conspiracy, the Court

should not allow other hearsay evidence to be admitted against this Movant. The

Movant asserts that the foregoing procedure of law is necessary to avoid denial of the
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Movant’s right to due process of law and to overcome abuses of the Movant’s rights

which will otherwise occur in the course of the trial herein and that simply requiring the

Government to offer its proof at trial, rather than a full and fair pretrial determination,

will deprive the Movant of the protection sought to be afforded by this process.

                                 MEMORANDUM OF LAW

       There is a long-recognized exception to the hearsay rule that a statement made by

one member of a conspiracy during the course of and in furtherance of the conspiracy

may be used against the other members of the conspiracy if certain conditions are met.

Federal Rules of Evidence, Rule 801(d)(2)(E). While this Rule moves co-conspirator

statements from the realm of hearsay, admissibility depends upon proof that there is a

conspiracy, that the statement was made during the course of and in furtherance of the

conspiracy, and the declarant and the Accused must be members of the conspiracy.

Anderson v. United States, 417 U.S. 211, 218 n.6 (1974).

       The admissibility of a co-conspirator’s declarations in a conspiracy trial is a

critical question. The evidence endangers the integrity of the trial because the relevancy

and apparent probative value of the statements may be so highly prejudicial as to color

other evidence even in the mind of a conscientious juror, regardless of any instructions

to disregard the statements or to consider them conditionally. James v. United States, 590

F.2d 575 (5th Cir. 1979). As a result, such statements should be evaluated by the trained

legal mind of the trial judge.

       WHEREFORE, the Movant respectfully requests that this Court conduct a pretrial

hearing to determine the existence of a conspiratorial agreement and to establish the
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Movant’s connection thereto, if any, and Movant further requests any additional relief

that this Court deems just and proper.

      RESPECTFULLY SUBMITTED this the 22nd day of JANUARY, 2019.

                                         s/ Steven Blackerby
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                              CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the directives from the Court Notice of Electronic Filing (“NEF”) which

was generated as a result of electronic filing.


       This the 22nd day of JANUARY, 2019.



                                           s/ Steven Blackerby
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